UNI'I"ED STA'I`ES BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK _

X

In Re: Chapter ll

 

D()REEN H()FFMAN, Case No. 8-18-72852-reg

Debtor(s)
X

 

LOSS MITIGATIOE REQU'ESI - BY DEBTOR

I am a Dehtor in this case. I hereby request to enter into the Loss Mitigation Program
_ With respect to [Idemifj) the property, loan and creditor(s) for which you are requesting
loss mitigation]:

163 Roe Avenue, Patchogue, NY 11272

x g_.Hq:)/ [Idenn]jr the Property]

[Last4Di tso LounNum mbeé -
Rushmore Loan Management, PO ca 2708, Irvine, A 92619

[Creditor’ s Name and Address]

 

 

SIGNATURE

I understand that if the Court orders_loss mitigation in this case, I Wili be expected to
comply with the Loss Mitigation Procedures. I agree to comply with the Luss Mitigation
Procedures, and I will participate in the Loss Mitigation Ptogram in good faith. I
understand that loss mitigation is voluntary for all parties, and that I am not required to
enter into any agreement or settlement with any other party as part of entry into the Loss
Mitigation Program. l also understand that no other party is required to enter into any
agreement or settlement with me. I understand that I am not required to request dismissal
of this case as part of any resolution or settlement that is offered or agreed to during the
Loss Mitigation Period.

    
 

 

 

 

Sign; /S/ DOl'€el’i HOH"II! Date: JUIIS 22 , 2018
[Fl'rs! and Lust Name]
Telephone Number: 63 1 -454-63 04
[l'.e. 999-999-9999]

E~mail Address [if any]: dhOfii¥laIll S@gmaii.wm

 

 

UNITED STATES BANKRUPTCY COURT
EAS'I`ERN ])ISTRICT OF NEW YORK ` '

Thaddeus R. Maciag, Esq.

MACIAG LAW, LLC
475 Wall Street

Princeton, Ncw .lersey 08540
(908) 704-8800

Proposed Co-counselfor the Debtor-in-Possession

 

 

 

 

 

In re: Case No.: 8-18~72852~reg
DOREEN HOFFMAN, Chapter l l
Debtor-in-Possession., .Iudge: Hon. Robert E. Grossman
DEB'I‘OR'S DECLARATION

IN SUPPOR'I` OF REQUEST FOR LOSS MITIGATION

STA’I`E OF NEW YORK )
) ss.:
COUN'I`Y OF SUFFOLK )

l, DOREEN HOFFMAN, declare as follows:

1. l am the individual Chapter ll Debtor~in~Possession in this case, and as suchl am
familiar with the facts of this Declaration, which l submit in support of my Request for
Loss Mitigation, as filed herewith

2. My residence is located at 163 Roc Avenue, Patchogue, New York 11772 . l believe it
would be in the best interest of creditors and the debtor’s estate to pursue a Loan
Modi{ication for that real property, amid the structure and supervision afforded by this
Court’s Loss Mitigation Procedures.

3. l am prepared to comply with the requirements of the Loss Mitigation Program

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Procedures, l am eager to enter into and conclude a good faith Loan Moditication
process, and l respectfully submit that the entry ofa Loss Mitigation Grder by this Court
will enable that process, and will be in the best interest of all parties

Pursuant to 28 U.S.C section 1746, I declare under the penalty of perjury that the

foregoing is true and correct.

/s/ Doreen Hoflinan
Doreen Hotfman
Dated: .Iune 22, 2018 ' Debtor-in-Possession

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TN THE UNITED STATES BANKRUPTCY
COURT FOR THE EASTERN DISTRICT OF NEW YORK

 

 

 

In Re: _ Chapter 1 1
Doreen Hoffman . Bankruptcy Case: 18--72852
Debtor(s)
AFFIDAVIT OF SERVICE

I, Michael Timpone, hereby affirm, under the penalty of perj ury, that a true and correct
copy of the Within Loss Mitigation Request and Debtor's Declaration in Support of Request for
Loss Mitigation together With this Celtif`tcate, Was sent by first olass, postage prepaid mail on
the Creditor Counsel and the Trustec and all other required parties in accordance With the Rules
of Banlcruptcy Procedure on the date set forth beloW.

Rushmore Loan Management Via ECF and First Class Mail
15480 Laguna Canyon Road '
Irvjne, CA 92618
FAZZIO LAW 0FFICES
Date: 07/16/2018 BY: fs/ Michael Tirnpone
Fazzio LaW Ofiices
164 Ft'anl<iin Tpke

Mahwah, NJ 07430
Tel. 201-529-8()24
Atl'orneyfor Debtor

 

